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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             :
                                      :
      v.                              :       No. 22-mj-00237-GMH
                                      :
RAYMUND JOSEPH CHOLOD,                :
    Defendant.                        :


                          NOTICE OF APPEARANCE

      COMES NOW, Allen H. Orenberg and, pursuant to the Criminal Justice Act,

hereby enters his appearance, nunc pro tunc to November 10, 2022, on behalf of the

Defendant, Raymund Joseph Cholod, in the above-captioned criminal cause.



                                      Respectfully Submitted,


                                                       Digitally signed
                                      Allen H.         by Allen H.
                                                       Orenberg
                                      Orenberg         Date: 2022.11.14
                                                       14:01:02 -05'00'
                                      _____________________________
                                      Allen H. Orenberg, # 395519
                                      The Orenberg Law Firm, P.C.
                                      12505 Park Potomac Avenue, 6 th Floor
                                      Potomac, Maryland 20854
                                      Tel. No. 301-984-8005
                                      Cell Phone No. 301-807-3847
                                      Fax No. 301-984-8008
                                      aorenberg@orenberglaw.com




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                            CERTIFICATE OF SERVICE

      I hereby certify that on the 14th day of November, 2022, a copy of the foregoing

Notice of Appearance, was delivered to case registered parties by the CM/ECF court

system.




                                                              Digitally signed
                                          Allen H.            by Allen H.
                                                              Orenberg
                                          Orenberg            Date: 2022.11.14
                                                              14:01:24 -05'00'
                                             ______________________________
                                             Allen H. Orenberg




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